   08-13555-mg              Doc 20096-1     Filed 09/16/11 Entered 09/16/11 19:48:36            Main
                                           Document Pg 1 of 5



WEIL, GOTSHAL & MANGES LLP
767 Fifth Avenue
New York, New York 10153
Telephone: (212) 310-8000
Facsimile: (212) 310-8007
Robert J. Lemons

Attorneys for Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------x
In re                                                              :   Chapter 11 Case No.
                                                                   :
LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                   :
                                    Debtors.                       :   (Jointly Administered)
-------------------------------------------------------------------x

                     STIPULATION AND AGREEMENT
          FOR PROVISIONAL ALLOWANCE OF CLAIM NUMBER 14995
   OF GLG INVESTMENTS PLC: SUB-FUND GLG PERFORMANCE FUND SOLELY
                            FOR PURPOSES
   OF VOTING ON THE DEBTORS’ THIRD AMENDED JOINT CHAPTER 11 PLAN

                    Lehman Brothers Holdings Inc. (“Lehman”), as debtor in possession, and GLG

Investments PLC: Sub-Fund GLG Performance Fund (the “Claimant” and together with Lehman,

the “Parties”), hereby stipulate and agree as follows:

                                                  RECITALS

          A.        On September 15, 2008 and on various dates thereafter, each of Lehman and

certain of its affiliates (collectively, the “Debtors’) filed voluntary cases under chapter 11 of title

11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for

the Southern District of New York (the “Bankruptcy Court”), which cases are being jointly

administered under Case Number 08-13555 (the “Lehman Bankruptcy Cases”). The Debtors are

authorized to operate their businesses and manage their properties as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.


US_ACTIVE:\43800986\01\58399.0008
   08-13555-mg              Doc 20096-1       Filed 09/16/11 Entered 09/16/11 19:48:36            Main
                                             Document Pg 2 of 5



          B.        Pursuant to the order entered on July 2, 2009, the Bankruptcy Court established

September 22, 2009 at 5:00 p.m. (Prevailing Eastern Time) as the last date and time for the filing

of proofs of claim such as the claim referred to herein against any of the Debtors based upon pre-

chapter 11 transactions.

          C.        On September 17, 2009, the Claimant timely filed proof of claim number 14995

against Lehman asserting a claim for $42,047,598 (the “Claim”).

          D.        On September 1, 2011, the Debtors filed the Third Amended Joint Chapter 11

Plan of Lehman Brothers Holding Inc. and its Affiliated Debtors (as may be further modified

from time to time, the “Third Amended Plan”) and a related disclosure statement (as may be

further modified from time to time, the “Disclosure Statement”). The Disclosure Statement was

approved by the Bankruptcy Court on August 30, 2011.

          E.        Lehman and the Claimant enter into this stipulation for the purposes of

provisionally allowing the Claim as set forth herein solely for the purposes of allowing the

Claimant to vote on the Third Amended Plan, consistent with any order of the Bankruptcy Court

governing solicitation and/or voting on the Third Amended Plan and Bankruptcy Rule 3018(a)

(the “Stipulation”).

                                                AGREEMENT

                    1.         This Stipulation shall become effective once it has been executed by both

Parties (the “Effective Date”).

                    2.         Upon the Effective Date, the Claim shall be deemed provisionally

allowed, for purposes of voting on the Third Amended Plan in the amount of $8,269,152 in

LBHI Class 9A of the Third Amended Plan (the “Voting Claim”).




US_ACTIVE:\43800986\01\58399.0008                   2
   08-13555-mg              Doc 20096-1       Filed 09/16/11 Entered 09/16/11 19:48:36               Main
                                             Document Pg 3 of 5



                    3.         The provisional allowance of the Voting Claim pursuant to this Stipulation

is without prejudice to either of the Parties’ respective rights and obligations under and pursuant

to the Third Amended Plan, applicable bankruptcy and non-bankruptcy law, and equitable

principles. Except as expressly provided for herein with respect to the provisional allowance of

the Voting Claim, nothing herein is or shall be deemed to be (a) a determination, allowance or

disallowance of the Claim or any of the Claimant’s claims against any of the Debtors or their

estates for any purpose whatsoever or (b) an admission, release or waiver with respect to the

Claim or any of the Claimant’s claims against any of the Debtors (or the Debtors’ objections,

defenses or counterclaims with respect thereto) including, without limitation, as to the amount,

extent, validity or priority of the Claim or any of the Claimant’s claims against any of the

Debtors.

                    4.         The provisional allowance of the Voting Claim pursuant to this Stipulation

shall not be deemed a determination or have any effect on the classification of the Claim under

the Third Amended Plan.

                    5.         Neither this Stipulation, any of the provisions hereof, nor any act

performed or document executed pursuant to or in furtherance of this Stipulation, is or may be

deemed to be or may be used as an admission of, or evidence of, the validity or invalidity of any

aspect of the Claim or of any other claim or right of any kind, or of any wrongdoing or liability

of either of the Parties in the Debtors’ chapter 11 cases, or any other matter pending before the

Bankruptcy Court. Except as specifically set forth herein, this Stipulation shall not affect the

Claim and is without prejudice to, and shall in no way affect, the rights of the Parties hereto with

respect to the Claim.




US_ACTIVE:\43800986\01\58399.0008                    3
   08-13555-mg              Doc 20096-1       Filed 09/16/11 Entered 09/16/11 19:48:36              Main
                                             Document Pg 4 of 5



                    6.         Nothing in this Stipulation, express or implied, is intended or shall be

construed to confer upon, or to give to, any person other than the Parties hereto, and their

respective successors and assigns, any right, remedy or claim under or by reason of this

Stipulation; and the provisions contained in this Stipulation are and shall be for the sole and

exclusive benefit of the Parties hereto.

                    7.         This Stipulation contains the entire agreement between the Parties as to

the subject matter hereof and supersedes all prior agreements and undertakings between the

Parties relating thereto.

                    8.         This Stipulation may not be modified other than by signed writing

executed by both Parties and delivered to each Party.

                    9.         Each person who executes this Stipulation represents that he or she is duly

authorized to do so on behalf of the applicable Party and that each such Party has full knowledge

of, and has consented to, this Stipulation.

                    10.        This Stipulation may be executed in multiple counterparts, each of which

shall be deemed an original but all of which together shall constitute one and the same

instrument, and it shall constitute sufficient proof of this Stipulation to present any copy, copies,

or facsimiles signed by the Parties.

                    11.        This Stipulation shall inure to the benefit of, and shall be binding upon,

the Parties and their respective successors, assignees, heirs, executors and administrators.

                    12.        This Stipulation shall be exclusively governed by and construed and

enforced in accordance with the laws of the State of New York, without regard to its conflicts of

law principles.




US_ACTIVE:\43800986\01\58399.0008                    4
   08-13555-mg              Doc 20096-1      Filed 09/16/11 Entered 09/16/11 19:48:36           Main
                                            Document Pg 5 of 5



                    13.        The Bankruptcy Court shall have exclusive jurisdiction over any and all

disputes arising out of or otherwise relating to this Stipulation. Should the Bankruptcy Court

abstain from exercising its jurisdiction or be found not to have jurisdiction over a matter relating

to this Stipulation, such matter shall be adjudicated in either the United States District Court, for

the Southern District of New York or a court of competent jurisdiction in the State of New York.

Dated: September 16, 2011
       New York, New York


/s/ Robert J. Lemons                                      /s/ David M LeMay
Robert J. Lemons                                          David M. LeMay

WEIL, GOTSHAL & MANGES LLP                                CHADBOURNE & PARKE LLP
767 Fifth Avenue                                          30 Rockefeller Plaza
New York, New York 10153                                  New York, New York 10112
Telephone: (212) 310-8000                                 Telephone: (212) 408-5100
Facsimile: (212) 310-8007                                 Facsimile: (212) 541-5369

Attorneys for Debtors                                     Attorneys for GLG Investments PLC: Sub-
and Debtors in Possession                                 Fund GLG Performance Fund




US_ACTIVE:\43800986\01\58399.0008                   5
